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                     UNITED STATES DISTRICT COURT
                                       for the
                           DISTRICT OF SOUTH CAROLINA
                               COLUMBIA DIVISION

Lance Loughmiller,                         )
                                           )
              Plaintiff,                   )
                                           )              COMPLAINT
v.                                         )
                                           )     Civil Action No.: 3:25-cv-00824-MGL
John Heflin, Eric Boland, Brad Lawing,     )
Casey Robinson and David Thomley,          )
individually and as agents of Camden       )
Military Academy, Inc. and                 )
Camden Military Academy, Inc.,             )
                                           )
            Defendants.                    )
________________________________           )

       The Plaintiff would respectfully show unto the Court and allege:


                               JURISDICTION & VENUE

       1.     That the Plaintiff, Lance Loughmiller, is a citizen and resident of the State of

Florida.

       2.     That the Defendant, Camden Military Academy, Inc. (hereinafter “CMA”), is

a corporation organized and existing under the laws of the State of South Carolina and its

principal place of business is located in Camden, South Carolina.

       3.     That the Defendants, John Heflin, Eric Boland, Brad Lawing, Casey Robinson

and David Thomley, are citizens and residents of the State of South Carolina.

       4.     That the amount in controversy exceeds the sum of Seventy-Five Thousand

($75,000.00) Dollars.

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       5.       That this Court has diversity jurisdiction over the Plaintiff’s claims pursuant to

28 U.S.C. §1332.

       6.       That venue is proper in this jurisdictional division pursuant to 28 U.S.C.

§1391(c).

                                 FACTUAL ALLEGATIONS

       7.       That the Plaintiff enrolled at CMA in or about January of 2015 and was a

minor child under the age of eighteen at the time of his enrollment, specifically fourteen (14)

years of age.

       8.       That the Defendant, John Heflin, was employed at CMA during all relevant

dates and times as CMA’s Dean of Students.

       9.       That the Defendant, Eric Boland has, at all relevant times, been employed at

CMA as the Head of School or “Headmaster” and has been responsible for the hiring,

monitoring, supervision, training, or retention of Defendant Heflin and other employees

involved in the alleged acts or omissions.

       10.      That the Defendant, Brad Lawing, has, at all relevant times, been employed at

CMA as the Commandant of Cadets at CMA and has been responsible for the hiring,

monitoring, supervision, training, or retention of Defendant Heflin and other employees

involved in the alleged acts or omissions.

       11.      That the Defendant, Casey Robinson, has, at all relevant times, been employed

at CMA as the Dean of Enrollment and Administration at the Academy and has been

responsible for the hiring, monitoring, supervision, training, or retention of Defendant Heflin

and other employees involved in the alleged acts or omissions.

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        12.    That the Defendant, David Thomley, has, at all relevant times, been employed

at CMA as the Director of Campus Safety and Security and has been responsible for the

monitoring, supervision, training, or retention of Defendant Heflin and other employees

involved in the alleged acts or omissions as well as the overall safety and security of the

student body at CMA.

        13.    That prior to the Plaintiff’s enrollment at CMA the Plaintiff had no prior

relationship nor had any knowledge of Defendant Heflin.

        14.    That beginning in the Spring semester of 2015 Defendant Heflin began an

effort to have an inappropriate relationship with the Plaintiff.

        15.    That in the Spring of 2015 Defendant Heflin began to engage in perverted and

predatory forms of sexually inappropriate conversations, innuendos and contact with the

Plaintiff.

        16.    That prior to the Summer break of 2015 Defendant Heflin offered to the

Plaintiff his own personal residence as a place to reside during the summer months so that

the Plaintiff could remain close to campus.

        17.    That Defendant Heflin communicated to the Plaintiff that this would be

advantageous for the Plaintiff to remain close to campus for the summer and would be in the

minor student’s best interest.

        18.    That at all relevant times, the Defendant Heflin lived alone at a private

residence away from campus.

        19.    That during the summer of 2015 Defendant Heflin began a consistent and

continuous pattern of criminal sexual conduct toward the Plaintiff while in his personal

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residence which was perverted and predatory in nature.

       20.     That the criminal sexual conduct would occur on a nearly daily basis.

       21.     That the numerous episodes of perverted and predatory criminal sexual

conduct suffered by the Plaintiff included, but was not limited to, offers of pornography and

various types of sex acts, all in violation of the criminal laws of the State of South Carolina.

       22.     That during the Summer of 2015, during the time the Plaintiff lived with

Defendant Heflin, Defendant Heflin would routinely provide alcohol to the Plaintiff in

violation of the criminal laws of the State of South Carolina.

       23.     That during the above dates, Defendant Heflin transported the Plaintiff to

another location in Myrtle Beach, South Carolina on at least one occasion where additional

acts of perverted and predatory criminal sexual conduct occurred, all in violation of the

criminal laws of the State of South Carolina.

       24.     That after the Plaintiff ended his enrollment at CMA, Defendant Heflin

continued to maintain regular contact with the Plaintiff and would often request that the

Plaintiff transmit to him sexually explicit photographs and videos of himself.

       25.     That Defendant Heflin transmitted sexually explicit photos and videos of

himself to the Plaintiff on a regular basis.

       26.     That Defendants Lawing, Boland, Robinson and Thomley, in their individual,

official, and supervisory capacities, maintained a culture of willing indifference and reckless

disregard by failing to monitor Defendant Heflin and by consciously allowing and permitting

students to stay overnight at his private residence. That, additionally, Defendants Lawing,

Boland, Robinson and Thomley acted with reckless disregard for the safety of their minor

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students (children) in the hiring, training, monitoring, supervision, and retention of

Defendant Heflin and failed to exercise their special duties to protect and warn their minor

students (children) of the conduct of Defendant Heflin, which all proximately caused the

physical and mental injuries in whole or in part suffered by the Plaintiff.

                                FIRST CAUSE OF ACTION
                        (Sexual Battery as to Defendant John Heflin)

       27.     Plaintiff incorporates by reference the relevant and consistent allegations of its

previous paragraphs as if fully repeated herein.

       28.     That Defendant Heflin wilfully and intentionally touched, groped, fondled,

molested, caressed and criminally violated the Plaintiff’s most intimate body parts.

       29.     That the Plaintiff could not consent to said acts as he was a minor child under

the age of eighteen (18) years of age at all relevant times.

       30.     That Defendant Heflin’s criminal sexual conduct inflicted upon the Plaintiff

severe and permanent injuries.

       31.     That as a direct and proximate result of Defendant Heflin’s criminal sexual

conduct Plaintiff suffered and continues to suffer severe and permanent psychological and

physical injuries and is therefore entitled to actual and punitive damages in an amount to be

determined by a jury.

                              SECOND CAUSE OF ACTION
                        (Intentional Infliction of Emotional Distress
                                  as to Defendant Heflin)

       32.     Plaintiff incorporates by reference the relevant and consistent allegations of its

previous paragraphs as if fully repeated herein.


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       33.    That Defendant Heflin wilfully, intentionally and recklessly inflicted severe

emotional distress that resulted or was substantially certain to result from the psychological

and criminal sexual abuse of Plaintiff.

       34.    That Defendant Heflin’s outrageous conduct was so extreme and outrageous as

to exceed all possible bounds of decency and is utterly intolerable in a civilized community.

       35.    That the Defendant’s actions caused Plaintiff severe and permanent

psychological injury.

       36.    That the injuries inflicted upon the Plaintiff were so severe that no reasonable

person could be expected to endure them.

       37.    That as a direct and proximate result of the Defendants’ outrageous conduct,

Plaintiff suffered and continues to suffer severe and permanent psychological injuries and is

therefore entitled to actual and punitive damages in an amount to be determined by a jury.

                              THIRD CAUSE OF ACTION
                        (Vicarious Liability as to Defendant CMA)

       38.    That the Plaintiff reaffirms and reiterates all the allegations in the previous

paragraphs as if fully repeated and is incorporated herein verbatim.

       39.    That the Defendant CMA is vicariously liable for the actions of the Defendants

by way of the doctrine of Respondeat Superior because at all times mentioned herein all

Defendants were acting within the scope of their employment as agents of the principal

Defendant CMA.

       40.    That as a result of Defendants’ negligence, gross negligence, reckless, wilful,

and wanton actions, the Plaintiff suffered severe and catastrophic physical, mental and


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psychological injuries and is therefore entitled to actual and punitive damages in an amount

to be determined by a jury.

                             FORTH CAUSE OF ACTION
                      (Negligent Hiring, Supervision, and Training
               As to Defendants Boland, Robinson, Lawing, and Thomley)

       41.    That the Plaintiff reaffirms and reiterates all the allegations in the previous

paragraphs as if fully repeated and is incorporated herein verbatim.

       42.    That the Defendant, John Heflin, intentionally harmed the Plaintiff while

serving as an employee of Defendant CMA while on the Defendant CMA’s premises. That

Defendant CMA, by and through its agents and employees, actually knew or had reason to

know that it had the ability to control Defendant Heflin’s conduct as an employee, both on

and off its premises.

       43.    That the Defendant CMA, by and through its agents and employees, actually

knew of or had reason to know of the duty and obligation to exercise such control over

Defendant Heflin because of the special relationship that existed between the minor students

(children) and CMA’s administration.

       44.    That as a result of Defendant CMA, and its agents and employee’s failure to

control and to warn of Defendant Heflin’s conduct, Defendant CMA and its agents and

employees were wilful, wanton, reckless, negligent, and grossly negligent in creating,

promoting, and tolerating an environment where psychological and sexual abuse was likely

to occur.

       45.    That as a direct and proximate result of Defendant CMA’s acts and omissions,

by and through its agents and employee’s wilful, wanton, reckless, negligent and grossly

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negligent failure to supervise, control, and warn of Defendant Heflin’s conduct, Plaintiff has

suffered and continues to suffer severe and permanent physical and psychological injuries

and is entitled to actual and punitive damages for an amount to be determined by a jury.

                                  FIFTH CAUSE OF ACTION
                             (Civil Conspiracy, as to all Defendants)

        46.      That the Plaintiff reaffirms and reiterates all the allegations in the previous

paragraphs as if fully repeated and is incorporated herein verbatim.

        47.      That Defendant CMA, its agents and employees, engaged in an agreement or

understanding either explicitly, tacitly, or implicitly, for the purpose of injuring the Plaintiff

by:

              a. engaging in a conspiracy of silence and coverup with actual knowledge and
                 notice of Heflin’s perverted and predatory behavior which was unlawful, all
                 while endangering the safety and welfare of the minor students (children);

              b. failing to inform the parents or guardians of its minor students (children), who
                 had entrusted Defendant CMA with their children’s care and protection, about
                 Defendant Heflin’s inappropriate conduct; and

              c. such other particulars as the evidence may show.

        48.      That Defendant CMA’s conspiracy of silence, stonewalling, and coverup

directly and proximately caused injury to the Plaintiff.

        49.      That as a direct and proximate result of Defendant CMA’s conduct, the

Plaintiff is entitled to all general, punitive and special damages proximately caused by the

Defendant CMA.

                                 SIXTH CAUSE OF ACTION
                              (Unfair Trade Practices as to CMA)

        50.      That the Plaintiff reaffirms and reiterates all the allegations in the previous

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paragraphs as if fully repeated and is incorporated herein verbatim.

       51.      The Defendants have employed unfair methods of competition and unfair or

deceptive acts or practice in the conduct of trade or commerce in the following particulars:

             a. Failing to disclose the information available to them regarding the culture and
                practices at CMA which fostered and encouraged sexual abuse;

             b. In misrepresenting the level of safety at CMA such that parents were misled
                into believing that their children would be safe at the school;

             c. Engaging in deceptive and unfair methods of competition;

             d. Implementing deceptive and unfair standards and practices to the detriment of
                Plaintiff;

             e. Providing false and misleading and inaccurate information and assurances
                regarding the level of safety at CMA to the detriment of Plaintiff;

             f. By other acts and/or omissions yet to be determined or defined; and

             g. In such other particulars as may be ascertained through discovery procedures
                undertaken pursuant to the Federal Rules of Civil Procedure.

       52.      The Defendants’ unfair or deceptive conduct affects the public interest in the

following particulars:

             a. Acts or omissions which result in individuals paying to have their children
                placed in a dangerous and unsafe environment;

             b. Acts or omissions which encourage those employed by CMA to engage in
                inappropriate conduct to further their interests;

       53.      As a result of CMA’s unfair trade practices, Plaintiff has suffered ascertainable

loss of money and other losses.

       54.      The CMA’s unfair trade practices are capable of repetition and affect the

public interest.


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       55.    CMA knew or should have known that its conduct was a violation of S.C.

Code Ann. § 39-5-20. For this reason and others, CMA’s use or employment of the unfair

or deceptive method, act or practice was a wilful or knowing violation of S.C. Code Ann. §

39-5-20. Accordingly, the Court should award three times the actual damages sustained and

provide such other relief as it deems necessary or proper. The Court should also award to

Plaintiff reasonable attorney’s fees and costs.

       WHEREFORE, the Plaintiff seek a judgment against the Defendants in an amount to

be determined by a jury, for actual and punitive damages and for such other and further relief

as this Court deems just and proper.

       Plaintiff demands a jury trial.

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